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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              ) Case No. 4:19-CR-00367-1 ERW
                                                )
v.                                              )
                                                )
JOHN RALLO,                                     )
                                                )
                        Defendant.              )

                      DEFENDANT’S FIRST AMENDED MOTION FOR
                  COMPASSIONATE RELEASE UNDER 18 USC § 3582(c)(1)(A)(i)

       Comes now Defendant, John Rallo, by and through counsel, The Limbaugh Firm, and for

his First Amended Motion for Compassionate Release, states to the Court as follows:

       1.        The United States Probation Office’s response to Mr. Rallo’s original motion for

compassionate release included, as part of its recommendation, that Mr. Rallo’s motion should

be denied because Mr. Rallo’s letter to the Warden was submitted before he began his period of

incarceration.

       2.        Mr. Rallo resubmitted a request for administrative release from the Bureau of

Prisons through a second written request on July 7, 2020.

       3.        That second request for release has not been ruled on by the Warden and more

than 30 days have passed since the Warden’s receipt of Mr. Rallo’s second written request. This

Honorable Court has jurisdiction to consider Mr. Rallo’s First Amended Motion pursuant to 18

USC § 3582 (c)(1)(A)(i).

       4.        The United States Probation Office notes, as part of its recommendation, that Mr.

Rallo’s history of thyroid cancer may put him at a greater risk if he were to contract Covid-19.

       5.        On August 2, 2020, Mr. Rallo tested positive for Covid-19.


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       6.      Mr. Rallo was seriously ill for several days and continues to experience symptoms

primarily related with breathing difficulty. Mr. Rallo’s cell mate contracted Covid-19 and died

from complications of the coronavirus.

       7.      Mr. Rallo is at a greater risk of complications from the coronavirus due to his pre-

existing condition for thyroid cancer and the genetic blood mutation known as

Methylenetetrahydrofolate Reduductase (MTHFR).

       8.      Although Mr. Rallo is now receiving his prescribed medicine, he has not received

the follow up care recommended by his private physician. This care includes blood panels and

scans to determine whether Mr. Rallo’s cancer has returned or spread to other parts of his body.

The early detection of the return or spread of cancer is critical to successful treatment.

       9.      The prison camp at Marion is on continuous lock down due to the spread of

Covid-19 throughout the facility. 103 out of 126 inmates have tested positive for Covid-19.

       10.     Although this Honorable Court recommended placement of Mr. Rallo in a prison

camp, the conditions and restrictions at Marion are similar to a medium to high secure facility.

       11.     Mr. Rallo is eligible for release under the new policy at Marion:

               a) Mr. Rallo is over the age of 50;

               b) Mr. Rallo has underlying health concerns;

               c) Mr. Rallo is considered a “Minimum – minimum” inmate, in that:

                   i) He has a minimum sentence (under 18 months)

                   ii) He has a minimum offense (non-violent and non-sexual)

                   iii) He is serving his sentence at a minimum security facility.

       12.     Mr. Rallo’s request is not an attempt to avoid serving his sentence but instead, is a

request to serve his sentence in home confinement so he can receive the medical care he needs


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and serve his confinement in an environment that will not place him in a greater likelihood of

illness or death due to his preexisting medical conditions.

       13.       Mr. Rallo has submitted a home plan to the United States Probation office which

would include residing with his wife and two youngest children at their home in Cottonwood

Heights, Utah.

       WHEREFORE, for the above stated reasons, Defendant respectfully requests that this

Honorable Court enter an order releasing Defendant on time served and placing Defendant on

Supervised Release with special conditions of home confinement for the remaining length of his

sentence, the location monitoring program and for such other conditions as this Honorable Court

deems appropriate under the circumstances.

                                      Respectfully Submitted,

                                      By: /s/Curtis O. Poore
                                            Curtis O. Poore      #38067MO

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                                      ATTORNEYS FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 19, 2020 the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system to the attorneys
of record in this case.


                                                         /s/ Curtis O. Poore




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